Case 4:07-cr-00018-CVE Document 216 Filed in USDC ND/OK on 01/20/10 Page 1 of 2




                       UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                              )
                                                        )
                        Plaintiff,                      )
                                                        )
 v.                                                     )       Case No. 07-CR-0018-001-CVE
                                                        )         (09-CV-0714-CVE-TLW)
 DEVIN LEE MELCHER,                                     )
                                                        )
                                                        )
                        Defendant.                      )


                                      OPINION AND ORDER

        Defendant Devin Lee Melcher filed a notice of appeal (Dkt. # 214) on January 19, 2010.1

 Melcher seeks to appeal the Court’s Opinion and Order (Dkt. # 212) denying his motion to vacate,

 set aside or correct sentence under 28 U.S.C. § 2255. Judgment (Dkt. # 213) was entered on January

 5, 2010.

        Pursuant to 28 U.S.C. § 2253, a defendant is required to obtain a certificate of appealability

 before appealing a final order in a proceeding under 28 U.S.C. § 2255. The district court must

 consider the propriety of issuing a certificate of appealability in the first instance. 10th Cir. R.

 22.1(C). Section 2253(c) instructs that the court may issue a certificate of appealability “only if the

 applicant has made a substantial showing of the denial of a constitutional right,” and the court

 “indicates which specific issue or issues satisfy [that] showing.” A defendant can satisfy that

 standard by demonstrating that the issues raised are debatable among jurists, that a court could

 resolve the issues differently, or that the questions deserve further proceedings. Slack v. McDaniel,



 1
        A notice of appeal constitutes a request for a certificate of appealability. 10th Cir. R.
        22.1(A).
Case 4:07-cr-00018-CVE Document 216 Filed in USDC ND/OK on 01/20/10 Page 2 of 2




 529 U.S. 473 (2000) (citing Barefoot v. Estelle, 463 U.S. 880, 893 (1983)). After considering the

 record in this case, the Court concludes that a certificate of appealability should not issue as Melcher

 has not made a substantial showing of the denial of a constitutional right. The record is devoid of

 any authority suggesting that the Tenth Circuit Court of Appeals would resolve the issues in this

 case differently. Melcher’s request for a certificate of appealability is denied.

        IT IS THEREFORE ORDERED that a certificate of appealability is denied.

        IT IS FURTHER ORDERED that the Court Clerk is directed to send a copy of this

 Opinion and Order to the Tenth Circuit Court of Appeals.

        DATED this 20th day of January, 2010.




                                                    2
